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April 8, 2020

Via CM/ECF
Honorable Justice Vera M. Scanlon
United States District Court
Eastern District of New York
225 Cadman Plaza East, 1214 South
Brooklyn, New York 11201

         Re:      Sartorius Stedim North America, Inc. v. Integra Bioprocessing, Inc., et al.
                  Case No. 2:19-cv-00651-LDH-VMS

Dear Justice Scanlon:

        Our Firm represents the Defendants / Counterclaim Plaintiffs Roberto Becerril and
Integra Bioprocessing, Inc. (collectively, “Defendants”) in the above-referenced action. We write
today concerning a dispute among the parties regarding search terms to be utilized for Phase 3 of
discovery. We respectfully request that Plaintiff / Counterclaim Defendant Sartorius Stedim
North America, Inc. (“Plaintiff”) be compelled to utilize Defendants’ proposed terms, specified
below, to conduct a search of its records and produce responsive documents.

    A. Relevant Procedural History

        The case involves a business dispute between the parties concerning their rights and
obligations under a sales representative agreement (the “Agreement”). In the Complaint, Plaintiff
alleges that the dispute arose when Defendants breached the Agreement due to certain
performance issues, such as adequate staffing, which then led Plaintiff to indicate its intention to
terminate the Agreement or modify its compensation structure. See Complaint, Exhibit A.
Defendants deny these allegations and, in turn, have raised a number of affirmative defenses. See
Defendants’ Answer, Exhibit B.

        In accordance with the Court’s directive, the parties are proceeding with discovery in
discrete phases. Phase 1 and Phase 2 were limited to discovery related to Defendants’
counterclaims1 and the last phase, Phase 3, concerns all discovery relating to Defendants’

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 Phase 1 included discovery relating to Defendants’ First Counterclaim for breach of contract for improperly
withholding agreed-upon commissions; and Phase 2 included discovery relating to Defendants’ Second
Counterclaim for violations of Law 21, specifically the unilateral modification of certain terms of the Agreement.


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defenses to Plaintiff’s claim for declaratory judgment. Pursuant to the Court’s Discovery Order,
dated January 16, 2020, the parties were ordered to enter into an agreement regarding search
terms to be used for Phase 3 by March 23, 2020 and are required to produce responsive
documents by April 14, 2020.

       On March 20, 2020, counsel for Defendants’ timely exchanged their proposed search
terms for Phase 3, which included:

   1.  (“Bobby” or “Roberto”) and (threat! or intimidat! or coerc! or forc!)
   2.  (“Integra” or “Bobby” or “Becerril” or “Roberto”) and (perform! or staff!)
   3.  (“Bobby” or “Roberto”) and “Puerto Rico” and “New York” /15 law!
   4.  (“Integra” or “Becerril”) and (“cause”)
   5.  (“Bobby” or “Roberto”) and (“choice of law” or violat! or impair! or terminat! or
       “cause”)
   6. (“Integra” or “Becerril”) and (modif! or chang!)
   7. (“Bobby” or “Roberto”) and (modif! or unilat! or unreasonab! or chang!)
   8. (terminat! or cancel! or replac!) /10 (rep! or representative)
   9. (restructur! or business or direct) /10 plan /20 (rep! or representative)
   10. (“Section 8” or “Section 7” or “Paragraph 7”) /20 “New York”
   11. (“Section 8” or “Section 7” or “Paragraph 7”) /20 “choice of law”
   12. (“Section 8” or “Section 7” or “Paragraph 7”) /20 (dealer or distributor or “sales
       representative”) /5 agreement!)

(the “Proposed Search Terms”). See Exhibit C. Plaintiff did not respond to Defendants’
proposed search terms until March 24, 2020, a day after the Court-ordered deadline, at which
point counsel objected to each of the above terms on the purported grounds that they were either
unrelated to Phase 3 or otherwise “overbroad.” See Exhibit D.

        In response, we advised counsel for Plaintiff that the objections were improper because
the terms were calculated to lead to discovery of documents related to the validity of the
Agreement, its termination and/or modification, the choice of law provision and any alleged
performance concerns – issues raised by Plaintiff in the Complaint and highly relevant to our
defenses. We further requested that, for the terms that Plaintiff claimed to be overbroad, a search
be conducted to identify the approximate number of hits so that the parties could make an
informed decision about how to best narrow the results, if necessary. See Exhibit E. Counsel for
Plaintiff refused to withdraw the objections or run any of the searches, stating that we had not
specified the relevant defenses and repeated that – according to her opinion – the terms were
“patently overbroad.” See Exhibit F.

         In a further effort to resolve the dispute, on April 6, 2020, we responded to Plaintiff’s
concerns by identifying the applicable defenses stated in our Answer that relate to Phase 3,
particularly: (1) economic duress; (2) violation of public policy and/or Puerto Rican Law; (3)
failure to state a cause of action; (4) ratification, consent, waiver, acquiescence; (5) failure to
state a valid or enforceable contract; (6) Plaintiff’s negligence, carelessness, assumption of risk,
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prior breach, fault; (7) anticipatory repudiation; and (8) mistake of the parties and/or of Plaintiff.
We also, once again, reiterated our request that a search be conducted for terms alleged to be
“overbroad.” See Exhibit G.

        The following day, counsel for Plaintiff stated she did not intend to withdraw her
objections because: (1) Phase 3 did not encompass all of Defendants’ affirmative defenses to
“all” of Plaintiff’s claims, but was limited only to defenses to the claim for declaratory judgment
(which is, notably, Plaintiff’s only claim); (2) Defendants’ are not entitled to discovery of
allegations in the Complaint that, according to counsel, provide background of the dispute and
are “totally irrelevant”; (3) it could not “logically be argued that any of [] [the stated] defenses
even remotely” relate to Phase 3 considering that they were not stated in response to Plaintiff’s
motion for summary judgment; and (4) issues concerning choice of law relate only to Phase 2.
See Exhibit H.

        Given the parties inability to reach a resolution on this issue, the underlying application
was filed shortly thereafter.

   B. Argument

       Plaintiff should be compelled to utilize Defendant’s Proposed Search Terms for Phase 3
to conduct a search of its client’s records and produce responsive documents.

          i.     The Proposed Terms Are Highly Relevant to Phase 3 Discovery

       The Proposed Search Terms are highly relevant to Phase 3, which includes all discovery
relevant to Defendants’ defenses, and Plaintiff’s objections to the contrary are unfounded.

        As set forth above, the Complaint alleges that the underlying dispute between the parties
arose after Defendants breached the Agreement by failing to maintain adequate staff and, as a
result of this, Plaintiff intended to seek to terminate and or modify the Agreement, which it
believes it is entitled to do under a New York choice of law provision. Defendants have denied
each of these allegations and set forth relevant affirmative defenses, arguing, among other things,
that there were no staffing or performance issues; the Agreement violates public policy and/or
Puerto Rican law; that Puerto Rican law governs the obligations of the parties under Section 8 of
the Agreement (or Section 7 of the parties’ prior Agreement); and that Plaintiff has failed to state
a valid and enforceable contract because the Agreement was a product of economic duress. The
Proposed Search Terms are tailored to seek discovery of documents into these key issues. For
example, the term ((“Bobby” or “Roberto”) and (threat! or intimidat! or coerc! or forc!)) is
highly relevant to Defendants’ economic duress defense that questions the validity of the
Agreement. Likewise, the terms ((“Bobby” or “Roberto”) and “Puerto Rico” and “New York”
/15 law!) and ((“Section 8” or “Section 7” or “Paragraph 7”) /20 “New York”) relate to
Defendants’ defense that the choice of law provision violates of public policy and/or Puerto
Rican law, which is essential to Plaintiff’s declaratory judgment claim. Notably, Plaintiff has
proposed similar terms to be utilized by Defendants in our search, such as “(Conte or Cox or
Sartorius) and (duress or coerc! or forc! or intimidat! or threat!)” and “Sartorius and (Law 21 or
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Law 75 or Ley 21 or Ley 75) and (invalid! or null! or void! or public policy).” Thus, Defendants’
Proposed Search Terms are pertinent and plainly fall within the ambit of Phase 3.

         Plaintiff’s objection to the relevance of the Proposed Search Terms are baseless. First,
counsel’s argument that Phase 3 is limited only to defenses to Plaintiff’s claim for declaratory
judgment, as opposed to “all” of Plaintiff’s claims, is illogical. The only relief sought by Plaintiff
in the Complaint is a declaratory judgment and, thus, Defendants’ defenses necessarily relate to
“all” of Plaintiff’s claims. Second, Plaintiff’s assertion that Defendants’ are not entitled to
discovery of certain allegations in the Complaint that, according to counsel, are “irrelevant” is
similarly unreasoned. By alleging facts in the Complaint regarding the validity of the Agreement,
its termination and/or modification and performance concerns, Plaintiff put these matters at issue
in this action, presumably believing them to be relevant and to support a claim for declaratory
judgment. Defendants are entitled to discovery into those allegations. Third, Defendants’ not
raising a specific defense in opposition to Plaintiff’s motion for summary judgment does not
amount to a waiver of such defense, and Plaintiff has cited no authority for such a position.
Fourth, that issues of choice of law may have also been relevant to Phase 2 does not bar their
application or relevance in Phase 3. Finally, as Plaintiff acknowledges, none of these same
searches were performed in the prior phases, and thus, are relevant and material to complete
discovery here. Plaintiff is simply using the phased discovery to preclude Defendants from
obtaining discovery into each and every allegation in the complaint, which is clearly allowed and
expected under the Federal Rules of Civil Procedure.

         ii.     The Proposed Terms Are Not “Overbroad” or Burdensome

        Plaintiff’s boilerplate objections to the searches as “overbroad” are without merit. The
Proposed Search Terms are not vague or overbroad, but rather specifically tailored to the
defenses at issue and are calculated to lead to relevant discovery as well as including Boolean
search terms. Defendants have repeatedly asked Plaintiff to run the specified searches and report
back on the number of hits to determine if the searches are in fact overbroad, and if so, how they
may be limited. Plaintiff has simply refused on the basis of counsel’s own self-serving
speculation that the search terms as proposed will “return thousands of emails.” This refusal to
even conduct a preliminary search of the terms to determine the scope and number of results,
especially given that the time, cost and burden of any such search would be minimal, further
indicates that Plaintiff’s objection to them as “overbroad” is unsupported.

        Accordingly, Defendants’ respectfully request that the Court issue an order, compelling
Plaintiff to search the Proposed Search Terms provided by Defendants and produce responsive
documents within its client’s possession, custody and control by April 14, 2020.

                                                              Respectfully submitted,

                                                              /s/ Nicole A. Sullivan
                                                              Nicole A. Sullivan

CC: All Counsel of Record
